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                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                            IN RE GOOGLE RTB CONSUMER                        Case No. 21-cv-02155-YGR (VKD)
                                   7        PRIVACY LITIGATION
                                   8
                                                                                             ORDER RE MARCH 15, 2022
                                   9                                                         DISCOVERY DISPUTE RE
                                                                                             PLAINTIFFS' DOCUMENT REQUESTS
                                  10                                                         TO GOOGLE

                                  11                                                         Re: Dkt. No. 171

                                  12
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                                  13           Plaintiffs and Google LLC ask the Court to resolve numerous disputes concerning

                                  14   plaintiffs’ document requests to Google. Dkt. No. 171. The Court finds this dispute suitable for

                                  15   resolution without oral argument. Civ. L.R. 7-1(b).

                                  16           The Court will require Google to produce documents responsive to RFP 45, but the scope

                                  17   of the required production is limited as described below. Google must also supplement its

                                  18   responses to RFPs 50 and 53, as directed below. Google need not produce documents responsive

                                  19   to RFPs 43, 44, 46-49, 51, 54-56 at this time. However, as discussed below, the parties must

                                  20   confer further regarding RFPs 46-49, 51, and 54-56 and provide a status report to the Court.

                                  21   I.      BACKGROUND
                                  22           Plaintiffs are Google account holders who allege that Google improperly sells or otherwise

                                  23   discloses to third party companies personal and private information about them through Google’s

                                  24   advertising auction process, which the parties refer to as “real-time bidding” or “RTB.” Google

                                  25   denies that RTB operates in the manner plaintiffs allege and denies that Google sells or otherwise

                                  26   shares Google account holders’ personal information with third parties utilizing RTB without the

                                  27   account holders’ consent. The parties presently are litigating the following eight claims: (1)

                                  28   breach of contract (Count 1); (2) breach of covenant of good faith and fair dealing (Count 2); (3)
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                                   1   violation of Article 1, § 1 of the California Constitution (invasion of privacy) (Count 4); (4)

                                   2   intrusion upon seclusion (Count 5); (5) publication of private information (Count 6); (6) breach of

                                   3   confidence (Count 7); (7) violation of the California Information Privacy Act, Cal. Penal Code

                                   4   §§ 630-638 (Count 8); and (8) violation of the Electronic Communications Privacy Act, 18 U.S.C.

                                   5   § 2511—unauthorized interception, use and disclosure by an Electronic Communications Service

                                   6   (ECS) (Count 10). In addition to declaratory and injunctive relief, plaintiffs seek damages,

                                   7   restitution, and disgorgement. See Dkt. Nos. 80, 146.

                                   8   II.      DISCUSSION
                                   9            A.     Legal Standard
                                  10            A party may obtain discovery of any matter that is relevant to a claim or defense and that is

                                  11   “proportional to the needs of case, considering the importance of the issues at stake in the action,

                                  12   the amount in controversy, the parties’ relative access to relevant information, the parties’
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                                  13   resources, the importance of the discovery in resolving the issues, and whether the burden or

                                  14   expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1).

                                  15            B.     Disputed Document Requests
                                  16                   1.        RFPs 43 and 44: Discovery requested and produced in related cases
                                  17            Plaintiffs ask Google to produce all written discovery requests it has received in related

                                  18   cases Brown et al. v. Google, LLC, No. 20-cv-03664-YGR-SVK and Calhoun et al., v. Google,

                                  19   LLC, No. 20-cv-05146-YGR-SVK (“Related Cases”), and to produce all “documents, data or

                                  20   information, including correspondence, written discovery responses, and testimony” that Google

                                  21   has produced in the Related Cases relating to (1) information related to RTB, (2) the sharing of

                                  22   account holders’ information, and (3) promises Google makes to account holders regarding the

                                  23   use, sharing or sale of their information. Dkt. No. 171 at 1 and Ex. 1. Google objects that

                                  24   plaintiffs’ request for “cloned” discovery from the Related Cases seeks information that is neither

                                  25   relevant nor proportional to the needs of the case. In addition, Google objects that requiring it to

                                  26   apply search terms from this action to the collection of material produced in the Related Cases is

                                  27   inconsistent with the ESI protocol, which provides a process for identifying case-specific

                                  28   custodians. Id. at 4-5.
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                                   1           Plaintiffs may be correct that some of the documents and information Google has produced

                                   2   and will produce in the Related Cases is also relevant and responsive to discovery requests in this

                                   3   case. However, the overlap between this action and the Related Cases is not so extensive as to

                                   4   justify the wholesale review in this action of the discovery provided by Google in the Related

                                   5   Cases, and the Court will not require Google to undertake that effort.

                                   6                   2.      RFP 45: Account holder complaints re RTB
                                   7           Plaintiffs ask Google to produce “[d]ocuments related to any complaints from Google

                                   8   Account Holders relating to [RTB] regarding the manner in which Google operates its [RTB],

                                   9   including the resulting ad(s) displayed to each Account Holder, the information conveyed in Bid

                                  10   Requests, and any action taken in response.” Dkt. 171, Ex. 1 at 12. Google agrees to produce

                                  11   “complaints related to the alleged sharing of user information with third parties using Google’s

                                  12   RTB, included responses thereto that are reasonably available.” Id. at 5. The parties apparently
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                                  13   disagree regarding whether Google must search for and produce account holder complaints and

                                  14   Google’s responses thereto for any disclosure or sale of personal or sensitive information to third

                                  15   parties. Id. at 2, 5.

                                  16           This dispute is easily resolved. RFP 45 does not encompass documents relating to account

                                  17   holder complaints about any sharing of user information; the request is limited to complaints from

                                  18   account holders relating to RTB. While the complaint need not mention “RTB,” documents

                                  19   responsive to RFP 45 must be related to RTB and not some other Google service. If Google can

                                  20   identify the ads displayed via RTB to an account holder who complained and the account holder

                                  21   information conveyed in the relevant bid request, it shall produce those documents as well as the

                                  22   account holder complaint and response thereto.

                                  23                   3.      RFP 50: Value of named plaintiffs’ information
                                  24           Plaintiffs ask Google to produce “[d]ocuments sufficient to establish the economic value,

                                  25   in currency or any other thing of value, paid in exchange for targeted advertising that Google

                                  26   received in exchange for each Named Plaintiff’s Information, as well as which entities paid

                                  27   Google and when such payments were made.” Dkt. No. 171, Ex. 1 at 18. Google says that

                                  28   because it does not sell plaintiffs’ information, it cannot produce responsive documents. Id. at 6.
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                                   1   Further, Google argues that this RFP is redundant of discovery demanded in other RFPs

                                   2   concerning the financial performance of RTB. Id.

                                   3          The Court understands that plaintiffs wish to obtain discovery that will allow them to

                                   4   assess the economic value of the personal and sensitive information that they allege Google

                                   5   disclosed to third parties. To the extent Google assigns or calculates an economic value for some

                                   6   or all of the user information for the named plaintiffs that allegedly was shared with third parties

                                   7   as part of the RTB process, it must produce documents sufficient to show that value. However, if,

                                   8   as Google represents, it neither assigns nor estimates the economic value of such information, then

                                   9   it appears that Google has no documents responsive to this request. Google must supplement its

                                  10   response to RFP 50 to make clear its position.

                                  11                  4.      RFPs 46-49, 51, and 54-56: Value of account holder information
                                  12          Plaintiffs ask Google to produce eight categories of documents relating to how Google
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                                  13   values account holder information:

                                  14          1) monetary value of account holders’ information to Google (RFP 46)

                                  15          2) financial reporting regarding value of account holders’ information, including revenue

                                  16              per user (RFP 47)

                                  17          3) monetary value of account holders’ information to account holders (RFP 48)

                                  18          4) Google’s Screenwise Trends program and the value of the data received through that

                                  19              program (RFP 49)

                                  20          5) consideration Google paid to others for information relating to specific consumers

                                  21              (RFP 51)

                                  22          6) compensation offered to consumers who signed up for Screenwise Trends or similar

                                  23              programs (RFP 54)

                                  24          7) surveys valuing account holders’ information (RFP 55)

                                  25          8) documents provided to auditors estimating fair value of account holders’ information

                                  26              (RFP 56).

                                  27   Dkt. No. 171, Ex. 1. Google objects that these document requests are duplicative and overbroad

                                  28   because they seek all documents relating to all valuations of all account holder information in any
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                                   1   context. Id. at 5-6.

                                   2          Plaintiffs may obtain discovery of information that will allow them to calculate or estimate

                                   3   the value of account holder information that Google allegedly shared with third parties without

                                   4   permission via the RTB process. However, RFPs 46-49, 51, and 54-56 are not limited to that

                                   5   objective, and plaintiffs provide an insufficient justification for the scope of these requests. With

                                   6   respect to RFPs 48, 49, and 54, plaintiffs do not explain how programs purportedly designed to

                                   7   pay Google users to share their web browsing history will reveal information relevant to the

                                   8   calculation of plaintiffs’ damages in this case. With respect to RFPs 46, 47, 51, 55, and 56, it is

                                   9   not clear whether the documents plaintiffs seek concern valuations of some or all of the same

                                  10   information that Google allegedly shares with third parties via the RTB process.

                                  11          The Court directs the parties to confer further regarding what information, if any, Google

                                  12   can provide that will permit plaintiffs to calculate or estimate their alleged damages. The parties
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                                  13   should first endeavor to identify items of personal or sensitive information shared with third

                                  14   parties in the RTB process. Then, the parties should discuss whether Google assigns or estimates

                                  15   the value of some or all of those items of information for purposes of RTB. If Google does not

                                  16   assign or estimate value of those items of information for purposes of RTB, then the parties should

                                  17   discuss whether it does so for any other purpose and whether any of those other purposes are

                                  18   comparable to the purpose served by the RTB auction service. The parties should discuss any

                                  19   other matters that will facilitate resolution of this dispute. The parties must file a status report no

                                  20   later than May 13, 2022 advising the Court of the status of this dispute.

                                  21                  5.      RFP 53: Google’s costs
                                  22          Plaintiffs ask Google to produce “[d]ocuments sufficient to establish all costs associated

                                  23   with Google granting access, sharing or sending Account Holders’ Information or any derivative

                                  24   of that Information through [RTB].” Dkt. No. 171, Ex. 1 at 21. Plaintiffs anticipate that Google

                                  25   will argue for an offset of its costs against any claimed amount of unjust enrichment. Id. at 4.

                                  26   Google responds that it does not segregate costs associated with the sharing of account holder

                                  27   information from the other operational costs associated with RTB. Id. at 7.

                                  28          Plaintiffs do not challenge Google’s explanation for why Google cannot produce
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                                   1   documents responsive to this request. As Google represents that it has no responsive documents,

                                   2   it need not produce any. However, Google must supplement its response to RFP 53 to state that it

                                   3   has no responsive documents.

                                   4          IT IS SO ORDERED.

                                   5   Dated: April 29, 2022

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                                                                                                 VIRGINIA K. DEMARCHI
                                   8                                                             United States Magistrate Judge
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